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BETTV A. BROOK|NS,
P|aintiff
vs. No. 04-2434-BV

C|TlGROUP, INC.' ,ClTlFlNANC|AL
CRED|T COMPANY; C|TlFlNANC|AL,
INC.' ,ASSOC|ATES FIRST CAP|TAL
CORPORAT|ON, NKA CITIGROUP,
INC. OR C|TlFlNANC|AL; ASSOC|ATES
CORPORAT|ON OF NORTH AMER|CA;
ASSOC|ATES F|NANC|AL SERVICES
OF AMER|CA, INC.' ,and ASSOC|ATES
LIFE lNSURANCE COMPANY

Defendants.

 

ORDER OF D|SM|SSAL W|TH PREJUDICE

 

lt appearing to the Court from the Stipu|ation of the parties pursuant to Rule 41 of
the Federa| Ru|es of Civi| Procedure, that this cause should be dismissed with prejudice
and it further appearing to the Court that the attorney's lien heretofore filed in this cause
by attorney B.J. Wade has been satisfied and released

|T lS ORDERED that this matter be, and it is hereby, dismissed With prejudice

the attorney's lien heretofore filed in this cause by attorney B. J. Wade having been fully

satisfied and releasedl ;;>M

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-02434 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

